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                                        In The

             United States District Court
                             District of Kansas
CHARLES L. JONES,
          Petitioner,

      v.                                         Case Number 12-3055-JAR

REX PRYOR, et al.,
         Respondents..




           Respondents’ Motion to Prohibit
             Argument from Petitioner’s
                  Status Reports

      Appears Now Respondent, by and through counsel, Kristafer R. Ailslieger,

Deputy Solicitor General for the State of Kansas, and in response to Petitioner’s

“Eighth Status Report,” (Doc. 162), respectfully requests the Court to admonish

Petitioner’s counsel to limit Petitioner’s status reports to simply reporting the

status of his state litigation without including any argument or assertions of fact

not grounded on record evidence or evidence admitted before this Court.

      Respondent contends that in Petitioner’s latest status report, paragraphs 3,

4, 5, and 8, go beyond merely reporting the status of Petitioner’s state litigation and

instead include argument in support of Petitioner’s habeas petition in this court



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based on alleged facts and purported evidence that has not been established in this

case.   Respondent is not involved in Petitioner’s state litigation and has no

knowledge of the substance of that litigation and cannot respond to allegations and

arguments presented by Petitioner based on that ongoing litigation. Respondent

believes that it is inappropriate to include such argument in a status report and

respectfully asks the Court to direct Petitioner to confine his status reports to

merely reporting the status of litigation.



                                        Respectfully submitted,

                                        OFFICE OF KANSAS ATTORNEY GENERAL
                                        DEREK SCHMIDT


                                        /s/ Kristafer R. Ailslieger
                                        Kristafer R. Ailslieger (KS# 19626)
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                                        Attorney for Respondent




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                              Certificate of Service

       I hereby certify that on this 9th day of November, 2022, I electronically filed
the foregoing with the Clerk of the Court by using the CM/ECF system which will
electronically serve opposing counsel:


      Cheryl Pilate
      Morgan Pilate LLC
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                                       /s/ Kristafer R. Ailslieger
                                       Kristafer R. Ailslieger
                                       Deputy Solicitor General




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